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6/4/2020
The Honorable Patricia L. Cohen
United States Magistrate Judge
Thomas F. Eagleton U.S. Courthouse
111 South 10th Street
Saint Louis, MO 63102

re: Case: 4:20‐mj‐07180‐SPM; United States v. Michael J. Avery

Dear Judge Cohen:

I understand that a federal complaint has been filed against Michael Avery, that states that the “FBI assesses that LEVEL RED action
to be associated with a high level of violence.” This assessment from the FBI is incorrect.

I have been a community organizer and trainer in civil disobedience for over 25 years. I have been the Midwest Director of the
Association of Community Organizations for Reform Now (ACORN), and the Director of Missourians for Reform and Empowerment
(MORE) as well as the Director of Global Exchange. I have led countless Non‐violent direct action trainings, and have assisted in
actions ranging from people in a neighborhood blocking traffic to win a stop sign on the corner, to helping homeowners in danger of
losing their homes win billions of dollars in reparation from the banks because they were willing to go to jail and not bail out.

In training everyday people for direct action, there are some common practices and language we teach, in an attempt to ensure
people’s safety and help them assess risk before they take part in direct action, as well as build uniformity among practioners.

There is a color‐based system similar to a traffic light. Green is safe. Those can be people who stay on the sidewalk, help with
media, or otherwise are extremely unlikely to risk arrest. Yellow is the caution role. If you choose to be yellow, you might be a
medic, or someone who might enter the street but leave when to refuse to do so would be out of compliance with police
instructions.

Red means that you are most likely to risk arrest. As non‐violent direct action trainers and practioners, we use red to denote that
there is a high risk for arrest. It never denotes an incitement to violence. Also, we do not choose to get arrested, we just know that
defiance of laws and practices, despite their being unjust, usually leads to arrest in the United States. We, however, assert our roots
in a tradition of civil disobedience that goes back to Mohandas Gandhi and Martin Luther King, Jr. that assert that we have a right to
refuse to obey unjust laws.

In big open settings like social media, or phone calls or tweets, we know there are hundreds or even thousands of people who want
to join because of the righteousness of the cause. Among those who might come to a publicly called action are senior citizens, and
families with children. We generally strive to protect everyone’s safety‐though we can never control the police. We also want to tell
people the risks. So, when a “red” action is called for, anyone who has been part of practicing non‐violent direct action knows that
participation in this action is likely to lead to arrests, or in this currently climate more brutal reprisals from police.

If I can help clarify any additional terminology or direct action practices, do not hesitate to contact me.

Thank you for your attention to this matter and pursuit of justice,

/S/
Jeff Ordower
Trainer, Educator and Organizing Consultant
Showing Up for Racial Justice‐(SURJ) National Action Coordinator
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